












Dismissed and Memorandum Opinion filed February 11, 2010.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

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&nbsp;

NO. 14-10-00079-CR

____________

&nbsp;

REGINALD K. RICKS, Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the 263rd District Court

Harris County, Texas

Trial Court Cause No. 1112841

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&nbsp;

M E M O R
A N D U M&nbsp;&nbsp; O P I N I O N

A jury convicted appellant of injury to a child causing
serious bodily injury. The trial court sentenced appellant to confinement for
fifty years in the Institutional Division of the Texas Department of Criminal
Justice on May 1, 2007. Appellant did not file his pro se notice of
appeal until December 28, 2009.

A defendant=s notice of appeal must be filed within thirty days after
sentence is imposed when the defendant has not filed a motion for new trial. See
Tex. R. App. P. 26.2(a)(1). A
notice of appeal that complies with the requirements of Rule 26 is essential to
vest the court of appeals with jurisdiction. Slaton v. State, 981 S.W.2d
208, 210 (Tex. Crim. App. 1998). If an appeal is not timely perfected, a court
of appeals does not obtain jurisdiction to address the merits of the appeal.[1] Id. Because appellant’s
notice of appeal is untimely, we have no jurisdiction to take any action in
this appeal but to dismiss it. See id. 

Accordingly, the appeal is ordered dismissed.

&nbsp;

PER CURIAM

&nbsp;

Panel consists of Chief Justice
Hedges and Justices Anderson and Christopher.

Do Not Publish — Tex. R. App. P. 47.2(b).

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[1]&nbsp; Appellant
may pursue an out-of-time appeal by filing an application for writ of habeas
corpus returnable to the Court of Criminal Appeals. See Tex.Code Crim.
Proc. art. 11.07 (Vernon 2005); Ater v. Eighth Court of Appeals, 802
S.W.2d 241, 243 (Tex. Crim. App. 1991.

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